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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JOSEPH KELSCH,
                                                 CIVIL ACTION
                   Plaintiff,
                                                 No. 1:21-CV-119
             v.
                                                 JURY TRIAL DEMANDED
BUFFALO & PITTSBURGH RAILROAD; and
GENESEE & WYOMING INC.,
                                                 Electronically Filed
                  Defendants.



                                STIPULATION OF DISMISSAL

       The following Stipulation is entered by and between Plaintiff Joseph Kelsch, and

Defendants Buffalo & Pittsburgh Railroad, Inc. and Genesee & Wyoming Inc.

       WHEREAS, at all times relevant to the Complaint filed in this action, Plaintiff’s

employer was Buffalo & Pittsburgh Railroad, Inc. (“BPRR”), which is a common carrier by

rail and the proper defendant with respect to Plaintiff’s claims under the Federal

Employers’ Liability Act.

       WHEREAS, Genesee & Wyoming Inc. is the parent of BPRR, but is not Plaintiff’s

employer and is not a common carrier by rail.

       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED that Genesee &

Wyoming Inc. is hereby dismissed from this action pursuant to Rule 41(a)(1)(A)(ii).

       FURTHER, the parties stipulate and agree that Plaintiff’s prayer for relief of

unliquidated damages as set forth in the Complaint is stricken.
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                                       Respectfully submitted,

COFFEY, KAYE, MYERS & OLLEY             DICKIE, McCAMEY & CHILCOTE, P.C.

By: /s/ Lawrence A. Katz_________       By: /s/Scott D. Clements
    Robert E. Myers, Esquire                J. Lawson Johnston, Esquire
    Lawrence A. Katz, Esquire               Scott D. Clements, Esquire
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    Counsel for Plaintiff,                  Counsel for Defendants,
    Joseph Kelsch                           Buffalo & Pittsburgh Railroad, Inc. and
                                            Genesee & Wyoming Inc.
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                                CERTIFICATE OF SERVICE

       I, Scott D. Clements, Esquire hereby certify that a true and correct copy of the

foregoing Stipulation of Dismissal was filed using the Court’s CM/ECF System on the 6th

day of May, 2021 and which will send notification of such filing to all counsel of record as

follows:

                                 Robert E. Myers, Esquire
                                Lawrence A. Katz, Esquire
                                Coffey, Kaye, Myers & Olley
                                 Two Bala Plaza, Suite 718
                               Bala Cynwyd, PA 19004-1514

                                              DICKIE, McCAMEY & CHILCOTE, P.C.


                                              By: /s/Scott D. Clements
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                                                   Buffalo & Pittsburgh Railroad, Inc. and
                                                   Genesee & Wyoming Inc.
